Case 2:16-cv-02105-JAR Document 584-1 Filed 02/12/21 Page 1 of 7




                       Exhibit A
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From:            Johnson, Mark P.
To:              stanley.parker@ag.ks.gov
Cc:              Dale Ho
Subject:         FW: Fish v. Schwab; Bednasek v. Schwab
Date:            Thursday, January 14, 2021 12:00:01 PM
Attachments:     image001.png
                 image002.png
                 image003.png


Dear Mr. Parker: I just got your name from Brant Laue and learned that we should direct to you our
inquiry about discharging our mutual obligation to consult under Local Rule 54.2. I am forwarding
the email correspondence with Brant. We have been attempting to set up the consultation meeting
since last month. Under the Court’s order on filing the fee requests, our requests are due in about
two weeks.

Please let Dale Ho and me know at your earliest convenience when you are available for the
consultation. Perhaps you could give us a few times when you’re available in the coming days, and
Dale and I will get back to you quickly.

Thanks.

Mark


                  Mark P. Johnson

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From: Laue, Brant <Brant.Laue@ag.ks.gov>
Sent: Thursday, January 14, 2021 10:18 AM
         Case 2:16-cv-02105-JAR Document 584-1 Filed 02/12/21 Page 3 of 7



To: Johnson, Mark P. <mark.johnson@dentons.com>
Cc: 'Dale Ho (dho@aclu.org)' <dho@aclu.org>
Subject: RE: Fish v. Schwab; Bednasek v. Schwab



[External Sender]

Your contact person with the Attorney General’s Office on the fee application
matter will be Stanley Parker, who I understand has previously appeared in the
district court. You may direct further communications to him.

Thank you and best regards,

Brant M. Laue
Solicitor General - Office of Attorney General Derek Schmidt
120 S.W. 10th Ave., 2nd Floor Topeka, KS 66612-1597
Office: 785.368.8539    Email: brant.laue@ag.ks.gov
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From: Laue, Brant
Sent: Friday, January 8, 2021 2:21 PM
To: 'Johnson, Mark P.' <mark.johnson@dentons.com>
Cc: Dale Ho (dho@aclu.org) <dho@aclu.org>
Subject: RE: Fish v. Schwab; Bednasek v. Schwab

Thank you for your message. I am still awaiting direction as to defense representation on the fee
applications in the district court. Someone should be in touch with you soon on these matters.

BML


From: Johnson, Mark P. [mailto:mark.johnson@dentons.com]
Sent: Thursday, January 7, 2021 5:56 PM
To: Laue, Brant <Brant.Laue@ag.ks.gov>
Cc: Dale Ho (dho@aclu.org) <dho@aclu.org>
Subject: RE: Fish v. Schwab; Bednasek v. Schwab
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and know the content is safe.

Brant: still looking forward to hearing from you. Obviously, Thursday is now off the table.

Mark


                    Mark P. Johnson

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From: Johnson, Mark P.
Sent: Tuesday, January 05, 2021 5:04 PM
To: 'Laue, Brant' <Brant.Laue@ag.ks.gov>
Cc: Dale Ho (dho@aclu.org) <dho@aclu.org>
Subject: RE: Fish v. Schwab; Bednasek v. Schwab

Hi Brant: here are times when we’re available:

Thursday from 11 to 1 and after 3 pm
Friday 9 to 1 and after 2 pm
Next Tuesday from 9 to 11 and 12 to 1 pm.

All Central time.
       Case 2:16-cv-02105-JAR Document 584-1 Filed 02/12/21 Page 5 of 7




Looking forward to talking.

Mark


                    Mark P. Johnson

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From: Laue, Brant <Brant.Laue@ag.ks.gov>
Sent: Thursday, December 31, 2020 2:57 PM
To: Johnson, Mark P. <mark.johnson@dentons.com>
Cc: Dale Ho (dho@aclu.org) <dho@aclu.org>
Subject: RE: Fish v. Schwab; Bednasek v. Schwab



[External Sender]

Thank you for your message. We will be in touch next week about availability of
those who will be involved with this matter.

When you are ready, if you wish to send along any information you have
compiled, that would help facilitate the Local Rule 54.2 process.
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Regards,

Brant M. Laue
Solicitor General - Office of Attorney General Derek Schmidt
120 S.W. 10th Ave., 2nd Floor Topeka, KS 66612-1597
Office: 785.368.8539    Email: brant.laue@ag.ks.gov
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From: Johnson, Mark P. [mailto:mark.johnson@dentons.com]
Sent: Tuesday, December 29, 2020 4:23 PM
To: Laue, Brant <Brant.Laue@ag.ks.gov>
Cc: Dale Ho (dho@aclu.org) <dho@aclu.org>
Subject: Fish v. Schwab; Bednasek v. Schwab

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and know the content is safe.

Dear Brant: I am writing pursuant to Local Rule 54.2 of the U.S. District Court for the District of
Kansas, which requires consultation among the parties concerning the award of statutory attorneys’
fees. With the Supreme Court cert. denial, and the District Court’s orders that matters relating to
fees and expenses be deferred until final resolution of the merits of the cases (copies of Judge
Robinson’s orders are attached for your convenience), the plaintiffs must file their fee applications in
the near future.

I have communicated with Dale Ho, counsel for the Fish plaintiffs, and we should have estimates of
our fees and expenses ready for discussion next week. Dale and I, along with other members of our
teams, are available next Thursday and Friday, January 7 and 8, to commence the consultation
required by Local Rule 54.2. Please let us know whether you -- and other members of your team
whom you would like to be involved in the consultation -- are available at some point on either of
those days. We could conduct the discussion by telephone or video conference.

Looking forward to hearing from you.

Best wishes for a Happy New Year.

Mark
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         Mark P. Johnson

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